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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF MISSISSIPPI
                          NORTHERN DIVISION

SECURITIES AND EXCHANGE                   No: 3:18-cv-252
COMMISSION,
                                          Carlton W. Reeves, District Judge
          Plaintiffs,                     F. Keith Ball, Magistrate Judge

     v.

ARTHUR LAMAR ADAMS AND
MADISON TIMBER PROPERTIES, LLC,

          Defendants.




                          RECEIVER’S REPORT

                             February 28, 2020




                                         /s/ Alysson Mills
                                  Alysson Mills, Miss. Bar No. 102861
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                                  Receiver for Arthur Lamar Adams and
                                  Madison Timber Properties, LLC
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Introduction

        For many years Arthur Lamar Adams, through his companies Madison Timber Company,
Inc. and Madison Timber Properties, LLC, operated a Ponzi scheme that defrauded hundreds of
investors. On May 9, 2018, Adams pleaded guilty to the federal crime of wire fraud. On October
30, 2018, he was sentenced to 19.5 years in prison.

        On June 22, 2018, the Court appointed me Receiver of the estates of Adams and Madison
Timber. The order of appointment sets forth my responsibilities and duties. Among other things,
the order instructs me to take any action necessary and appropriate to preserve the assets of Adams
and his businesses, to maximize funds available for distributions to victims. I have undertaken
these tasks with substantial assistance from my counsel, including principally Brent Barriere and
Lilli Bass.

        The Court instructed me to file a report of my progress every 60 days. I filed my last report
on December 31, 2019, and this report picks up where that report left off. It does not repeat the
same information, except as necessary for context. It contains the following parts:

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        As always, my reports are for the Court’s benefit, but I write them for a broader audience,
knowing that they may be read by non-lawyers including victims. I remain sensitive to potential
ongoing criminal investigations and do not disclose information that might impair their progress.




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Recent filings or events—criminal

       United States v. Adams, No. 3:18-cr-88

       None. Lamar Adams is serving a 19.5-year sentence in federal prison.


       United States v. McHenry, No. 3:19-cr-20

       None. Bill McHenry was acquitted on December 5, 2019. The U.S. Attorney’s Office
presented a narrow case against McHenry. It called only one victim to testify. The jury did not
hear from McHenry’s elderly victims before it deliberated. The jury’s verdict is not a rebuke of
these victims’ personal stories.

       Some investors received a notice from the U.S. Department of Justice dated January 16,
2020 that stated it had “closed its investigation in the above referenced case.” The “above
referenced case” was identified simply as “Case Number: 318B-JN-2961997.” I have confirmed
that the case number refers only to the case that was tried against McHenry in December 2019.

                                             * * *
       After Adams, McHenry is the only person to have been charged in connection with
the Madison Timber Ponzi scheme. I am hopeful that criminal authorities are not finished
with their work. Victims are right to expect that criminal authorities will pursue justice in
this case.


Recent filings or events—civil

       Securities & Exchange Commission v. Adams, et al., No. 3:18-cv-252

       None.


       Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       The complaint against Mike Billings, Wayne Kelly, and Bill McHenry, filed October 1,
2018, alleged they received millions of dollars in “commissions” in exchange for their recruitment



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of new investors to Madison Timber. Wayne Kelly and Mike Billings settled with the Receivership
Estate. I obtained a final judgment against Bill McHenry in the amount of $3,473,320.1

         McHenry has not paid the judgment. I asked the court for permission to examine him under
oath in open court regarding his ability to pay. The court set the examination for February 10,
2020 and ordered McHenry to produce documents relevant to his finances on or before January
27, 2020. On January 27, 2020, McHenry filed a Chapter 7 petition for bankruptcy.2

         By filing his petition for bankruptcy, McHenry triggered an automatic stay of litigation
against him. The automatic stay applies to all bankruptcy petitioners pursuant to 11 U.S.C. § 362.
The result is that I cannot collect the $3,473,320 judgment against McHenry while his bankruptcy
proceedings are pending. But I can and will participate in McHenry’s bankruptcy proceedings in
order to assert the Receivership Estate’s rights, and I will object to the discharge of his debt to the
Receivership Estate.

         A meeting of McHenry’s creditors has been set for March 4, 2020 at 9:00 a.m. in Suite
1.452 of the U.S. District Court courthouse at 501 East Court Street in Jackson, Mississippi.


         Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

         The complaint against Butler Snow LLP; Butler Snow Advisory Services, LLC; Matt
Thornton; Baker, Donelson, Bearman, Caldwell & Berkowitz, PC; Alexander Seawright, LLC;
Brent Alexander; and Jon Seawright, originally filed December 19, 2018, alleges the law firms
and their agents lent their influence, their professional expertise, and even their clients to Adams
and Madison Timber. None of the defendants has settled with the Receivership Estate. On
November 22, 2019, I filed an amended complaint.

         Butler Snow: The Butler Snow defendants filed a motion to dismiss in which they argued
that the case against them should be submitted to private arbitration. After the Court denied Butler
Snow’s motion to dismiss,3 Butler Snow appealed to the Fifth Circuit. Butler Snow filed its
appellant’s brief on December 2, 2019, and I filed the Receivership Estate’s response on January

1
  Docs. 62, 63, Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-00679 (S.D. Miss).
2
  Doc. 1, In re: William Byrd McHenry, Jr., No. 20-00268 (Bankr. S.D. Miss).
3
  Doc. 48, Alysson Mills v. Butler Snow, et al., No. 3:18-cv-00866 (S.D. Miss).
                                                                                                     4
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23, 2020. Those filings are available at madisontimberreceiver.com. The claims against Butler
Snow are stayed pending appeal.

           Baker Donelson: Baker Donelson filed a motion to dismiss the amended complaint on
December 20, 2019, and I filed the Receivership Estate’s response on January 10, 2020. Those
filings are available at madisontimberreceiver.com.

           Alexander Seawright: The Alexander Seawright defendants also filed a motion to dismiss
the amended complaint on December 20, 2019, and I filed the Receivership Estate’s response on
January 10, 2020. Those filings are available at madisontimberreceiver.com.

           Jon Seawright: Seawright filed a Chapter 7 petition for bankruptcy on November 3, 2019.4
By filing his petition for bankruptcy, Seawright triggered an automatic stay of litigation against
him. The automatic stay applies to all bankruptcy petitioners pursuant to 11 U.S.C. § 362. The
result is that I cannot litigate the Receivership Estate’s claims against Seawright while his
bankruptcy proceedings are pending. But I can and will participate in Seawright’s bankruptcy
proceedings in order to assert the Receivership Estate’s rights, and on February 7, 2020 I filed an
adversary complaint that objects to the discharge of his debt to the Receivership Estate.


           Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

           The complaint against BankPlus; BankPlus Wealth Management, LLC; Gee Gee Patridge,
Vice President and Chief Operations Officer of BankPlus; Stewart Patridge; Jason Cowgill; Martin
Murphree; Mutual of Omaha Insurance Company; and Mutual of Omaha Investor Services, Inc.,
filed March 20, 2019, alleges the financial institutions and their agents lent their influence, their
professional services, and even their customers to Madison Timber, establishing for it a de facto
DeSoto County headquarters within BankPlus’s Southaven, Mississippi branch office. None of the
defendants has settled with the Receivership Estate.

           Murphree and Stewart Patridge, former agents of BankPlus and Mutual of Omaha, filed
answers to the complaint. BankPlus; Gee Gee Patridge, Vice President and Chief Operations
Officer of BankPlus; Cowgill, a former manager of BankPlus’s Southaven, Mississippi branch;


4
    Doc. 1, In re: Jon Darrell Seawright, No. 19-03921 (Bankr. S.D. Miss).
                                                                                                   5
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and Mutual of Omaha all filed motions to dismiss the claims against them, which I opposed. The
answers, motions, and related filings are available at madisontimberreceiver.com. As of this filing
the Court had not issued any rulings.


           Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

           The complaint against The UPS Store, Inc.; Herring Ventures, LLC d/b/a The UPS Store;
Austin Elsen; Tammie Elsen; Courtney Herring; Diane Lofton; Chandler Westover; Rawlings &
MacInnis, PA; Tammy Vinson; and Jeannie Chisholm, filed May 23, 2019 and amended June 13,
2019, alleges the defendants are the notaries and their employers on whom Lamar Adams
principally relied to notarize fake timber deeds. None of the defendants has settled with the
Receivership Estate.

           Herring Ventures, LLC d/b/a The UPS Store; Austin Elsen; Tammie Elsen; Courtney
Herring; Diane Lofton filed answers to the complaint. The UPS Store, Inc.; Rawlings & MacInnis,
PA; Tammy Vinson; and Jeannie Chisholm filed answers to the complaint after the Court denied
their motions to dismiss. The answers are available at madisontimberreceiver.com.

           The Court has ordered the parties to proceed with discovery, “which in a case about
notarization should not be overly complex.”5

           On December 13, 2019, I filed a motion for protective order that asks the Court to order
the defendants to treat victims’ names and identifying information as confidential. The proposed
protective order would require the defendants to redact victims’ names and identifying information
from any publicly filed documents. Protecting victims’ privacy is important to me; victims tell me
they fear being singled out and believe public exposure will feel like a revictimization.

           The UPS Store, Inc. refuses to agree to treat victims’ names and identifying information as
confidential. I do not know why it matters to The UPS Store, Inc. that it be able to publish victims’
names and identifying information in its filings. Lawyers redact information that is private in
nature from filings all the time. Redaction in no way limits The UPS Store, Inc.’s ability to defend
against the Receivership Estate’s claims.


5
    Doc. 49, Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-00364 (S.D. Miss).
                                                                                                    6
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        As of this filing, the Court had not addressed the motion for protective order. The motion
and related filings are available at madisontimberreceiver.com.

        Securities & Exchange Commission v. Kelly, et al., No. 3:19-cv-585

        None. On August 27, 2019, the Securities and Exchange Commission obtained a judgment
against Kelly permanently enjoining him from further violations of federal securities laws;
disgorging his ill-gotten gains, in an amount to be determined; and ordering that he pay civil
penalties, in an amount to be determined.6


        Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

        On December 30, 2019, I filed a complaint against Trustmark National Bank, Bennie Butts,
Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial institutions and
professionals who provided banking services that enabled and sustained the Madison Timber Ponzi
scheme. The complaint is available at madisontimberreceiver.com. The defendants have not yet
responded.

        Securities & Exchange Commission v. Billings, et al., No. 3:20-cv-50

        On January 31, 2020, the Securities and Exchange Commission filed a civil complaint
charging Mike Billings with the sale of unregistered securities and the sale of securities while
unregistered. The Commission seeks a judgment against Billings permanently enjoining him from
further violations of federal securities laws; disgorging his ill-gotten gains, in an amount to be
determined; and ordering that he pay civil penalties, in an amount to be determined.7


        Alysson Mills v. Jon Darrell Seawright, No. 20-bk-00011

        On February 7, 2020, I filed an adversary complaint in Jon Seawright’s bankruptcy
proceedings that objects to the discharge of his debt to the Receivership Estate on the basis that




6
  Docs. 5, 6, Securities and Exchange Commission v. Terry Wayne Kelly and Kelly Management, LLC, No. 3:19-cv-
00585 (S.D. Miss.).
7
  Doc. 1, Securities and Exchange Commission v. Michael Douglas Billings and MDB Group, LLC, No. 3:20-cv-
00050 (S.D. Miss.).
                                                                                                            7
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the debt flows from his false pretenses, false representations, and fraud. The adversary complaint
is available at madisontimberreceiver.com. Seawright has not yet responded.


Receiver’s actions in the past 60 days

       Since I filed my last report on December 31, 2019, I have:


       Continued to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

       As noted above, I obtained from an order permitting me to examine McHenry on February
10, 2020 under oath in open court regarding his ability to pay the Receivership Estate’s $3,473,320
judgment against him, but on January 27, 2020, McHenry filed a Chapter 7 petition for bankruptcy.
I have monitored McHenry’s bankruptcy proceedings and participated as necessary to protect the
Receivership Estate’s interests.


       Continued to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

       As noted above, on January 10, 2020, I filed responses to Baker Donelson’s and Alexander
Seawright’s motions to dismiss the amended complaint. On January 23, 2020, I filed a response to
Butler Snow appellant’s brief. I have monitored Jon Seawright’s bankruptcy proceedings and
participated as necessary to protect the Receivership Estate’s interests.


       Continued to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As noted above, I await the Court’s rulings on the motions to dismiss filed by BankPlus;
Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and
Mutual of Omaha.


       Continued to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       As noted above, after the Court denied pending motions to dismiss, the parties began
discovery. I filed a motion for protective order that asks the Court to order the defendants to treat
victims’ names and identifying information as confidential on December 13, 2019 and filed



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additional briefs in support on December 27, 2019 and January 3, 2020. As of this filing the Court
had not addressed that motion.


       Continued to litigate Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       As noted above, on December 30, 2019 I filed a complaint against Trustmark National
Bank, Bennie Butts, Jud Watkins, Southern Bancorp Bank, and RiverHills Bank—financial
institutions and professionals who provided banking services that enabled and sustained the
Madison Timber Ponzi scheme. I await the defendants’ responses to the complaint.


       Filed Alysson Mills v. Jon Darrell Seawright, No. 20-bk-00011

       As noted above, on February 7, 2020, I filed an adversary complaint in Jon Seawright’s
bankruptcy proceedings that objects to the discharge of his debt to the Receivership Estate on the
basis that the debt flows from his false pretenses, false representations, and fraud. I await
Seawright’s response to the adversary complaint.


       Continued to account for “commissions,” gifts, and proceeds

       I have continued to account for “commissions” paid by Adams, Madison Timber, or Wayne
Kelly to individuals in exchange for their assistance in recruiting new investors to the Madison
Timber Ponzi scheme and to account for gifts that Adams or Kelly made with proceeds from
Madison Timber.

       My practice has been to contact individuals who received “commissions,” gifts, or
proceeds and offer to negotiate repayment, provided the individual agrees to make complete
financial disclosures. Most individuals have cooperated. At least one has not. Stu Anderson, who
received as much as $130,520 in “commissions” paid by Wayne Kelly in exchange for his
assistance in recruiting new investors to the Madison Timber Ponzi scheme, has not made the
financial disclosures requested of him.


       Continued to review records

       To date I have reviewed records from Wayne Kelly, Mike Billings, Alexander Seawright,
Brent Alexander, Jon Seawright, First Bank of Clarksdale, Southern Bancorp, River Hills Bank,
                                                                                           9
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Community Bank, Jefferson Bank, Trustmark Bank, BankPlus, Southern AgCredit, Adams’s and
Madison Timber’s accounting firm, Butler Snow, Rawlings & MacInnis, Madison Trust Company
(no relation to Madison Timber), Pinnacle Trust, and The UPS Store. I continue to request and
review additional records as necessary to assess the Receivership Estate’s rights against third
parties that had professional relationships with Adams or Madison Timber.


       Worked with LLCs of which Adams was a member

       Adams was a member of at least six active limited liability companies (“LLCs”) that own
real estate. The Receivership Estate has already resolved its interests in 707, LLC; Delta Farm
Land Investments, LLC; KAPA Breeze, LLC; and Mallard Park, LLC. The status of the remaining
LLCs is as follows:

       MASH Farms, LLC: The LLC’s principal asset is 808+ acres with a hunting camp in
Sunflower County, Mississippi. I have obtained an appraisal of that property and have had
preliminary negotiations with the LLC’s other members regarding the purchase of the
Receivership Estate’s 25% interest.

       Oxford Springs, LLC: The LLC’s principal asset is 2,300+/- acres of undeveloped land in
Lafayette County, Mississippi. Today the Receivership Estate owns a 100% interest in Oxford
Springs, debt-free, and will retain all proceeds from the future sale of the LLC’s property. I am
marketing the property.


       Conferred with federal and state authorities

       I have continued to confer with federal and state authorities, including the FBI, the
Securities and Exchange Commission, the Mississippi Secretary of State’s Office, and the
Mississippi Department of Banking and Consumer Finance.


       Communicated with investors in Madison Timber

       I have continued to communicate with investors in Madison Timber via phone, letter,
email, and in-person meetings. I speak to investors almost daily. I attended the trial of Bill
McHenry and provided reports to investors who could not be there.

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        Interviewed persons with knowledge

        I have continued to interview individuals with first-hand knowledge of matters bearing on
the Receivership Estate.


        Researched legal claims against third parties

        My colleagues and I have continued to research legal claims against third parties as new
facts are discovered. I do not publish our assessments here because to do so would be to telegraph
our legal strategies to future defendants.


Receiver’s plan for the next 60 days

        Continue to litigate Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679

        I intend to continue to monitor Bill McHenry’s bankruptcy proceedings and participate as
necessary to protect the Receivership Estate’s interests.      I intend to attend the meeting of
McHenry’s creditors that has been set for March 4, 2020 at 9:00 a.m. in Suite 1.452 of the U.S.
District Court courthouse at 501 East Court Street in Jackson, Mississippi, and to separately
examine McHenry regarding his finances on March 18, 2020 pursuant to Federal Rule of
Bankruptcy Procedure 2004. I intend to file an adversary complaint in McHenry’s bankruptcy
proceedings that objects to the discharge of his debt to the Receivership Estate on the basis that
the debt flows from his false pretenses, false representations, and fraud.


        Continue to litigate Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866

        As noted above, I await the Court’s rulings on the motions to dismiss the amended
complaint filed by Baker Donelson and Alexander Seawright. I intend to continue to monitor Jon
Seawright’s bankruptcy proceedings and participate as necessary to protect the Receivership
Estate’s interests.




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       Continue to litigate Alysson Mills v. BankPlus, et al., No. 3:19-cv-196

       As noted above, I await the Court’s rulings on the motions to dismiss filed by BankPlus;
Gee Gee Patridge, Vice President and Chief Operations Officer of BankPlus; Jason Cowgill; and
Mutual of Omaha.


       Continue to litigate Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364

       As noted above, the parties are engaged in discovery. I await the Court’s ruling on the
motion for protective order in which I asked the Court to order the defendants to treat victims’
names and identifying information as confidential.


       Continue to litigate Alysson Mills v. Trustmark, et al., No. 3:19-cv-941

       As noted above, I await the defendants’ responses to the complaint. I expect the responses
in the next fourteen days and will respond accordingly.


       Continue to litigate Alysson Mills v. Jon Darrell Seawright, No. 20-bk-00011

       As noted above, I await Seawright’s response to the adversary complaint. I expect his
response on or before March 12, 2020 and will respond accordingly.


       Continue to account for “commissions,” gifts, and proceeds

       I intend to continue to account for “commissions” paid by Adams, Madison Timber, or
Wayne Kelly to individuals in exchange for their assistance in recruiting new investors to the
Madison Timber Ponzi scheme and to continue to account for gifts that Adams or Wayne Kelly
made with proceeds from Madison Timber.

       As noted above, my practice has been to contact individuals who received “commissions,”
gifts, or proceeds and offer to negotiate repayment, provided the individual agrees to make
complete financial disclosures. Stu Anderson, who received as much as $130,520 in
“commissions” paid by Wayne Kelly in exchange for his assistance in recruiting new investors to
the Madison Timber Ponzi scheme, has not made the financial disclosures requested of him. I



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intend to take legal action against Anderson as necessary to enforce the Receivership Estate’s
rights.


          Monetize Adams’s interests in the remaining two LLCs

          For the remaining two LLCs, I intend to liquidate the Receivership Estate’s interests to
maximize value to the Receivership Estate:

          Mash Farms, LLC: As noted above, the LLC’s principal asset is 808+ acres with a hunting
camp in Sunflower County, Mississippi. I want to sell the Receivership Estate’s 25% interest on
terms that are in the best interests of the Receivership Estate. I will continue to consider a sale to
the LLC’s other members but I will consider any offer by any party that I believe is fair, and I
encourage interested parties to contact me directly (504-586-5253). If I am unable to sell the
Receivership Estate’s interest, I will evaluate other options available to the Receivership Estate.

          Oxford Springs, LLC: As noted above, the Receivership Estate now owns 100% of the
LLC. I want to sell the LLC’s principal asset: 2,300+/- acres of undeveloped land in Lafayette
County, Mississippi. I will consider any offer by any party that I believe is fair, and I encourage
interested parties to contact me directly (504-586-5253).


          File additional lawsuits

          I intend to file additional lawsuits against third parties that contributed to the debts of
Madison Timber, and therefore to the debts of the Receivership Estate, so long as new information
justifies it.

          I intend to file additional lawsuits to recover commissions, fraudulent transfers, and gifts
as necessary to recover money that belongs to the Receivership Estate.


          Continue communicating with investors

          I intend to continue communicating with investors, through my website, email, phone, and
letters. Investors provide information that is useful to my investigation and, in turn, I hope that I
demystify the receivership process for them.


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Summary of status of assets

        My end goal is to make an equitable distribution to victims with the money I recover.
Although I continue to recover money from various third parties, the money that I have recovered
to date still would not go far. As I have advised, it may take a long time and a lot of work to recover
enough money to make a meaningful distribution, but I am committed to pursuing recoveries for
the benefit of victims so long as the Court allows. The Receivership Estate’s most valuable assets
are the lawsuits it has filed or intends to file.

        The current status of the Receivership Estate’s assets is as follows:


Receivership Estate’s account at Hancock Bank                          current balance $6,675,469.48
Previous balance as of December 31, 2019              $6,661,427.13
Interest                                                +$14,071.35
Bank fees                                                   -$29.00


Alysson Mills v. Butler Snow, et al., No. 3:18-cv-866                        litigation ongoing
Lawsuit to hold law firms liable for debts of the Receivership
Estate

Alysson Mills v. BankPlus, et al., No. 3:19-cv-196                          litigation ongoing
Lawsuit to hold bank and financial services company liable for
debts of the Receivership Estate

Alysson Mills v. The UPS Store, Inc., et al., No. 3:19-cv-364                litigation ongoing
Lawsuit to hold notaries liable for debts of the Receivership Estate

Alysson Mills v. Trustmark, et al., No. 3:19-cv-941                          litigation ongoing
Lawsuit to hold banks liable for debts of the Receivership Estate

Alysson Mills v. Michael D. Billings, et al., No. 3:18-cv-679               $3,473,320 judgment
Lawsuit to recover commissions from recruiters                                against McHenry
                                                                               settlements with
                                                                              Billings and Kelly
                                                                                  (see below)

Settlement—Mike Billings                                                     received $325,000
                                                                             plus 5% interest in
                                                                            Oxford Springs, LLC
                                                                       promissory note in the original
                                                                       principal amount of $500,000
                                                                                outstanding

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                                                                      duty to restate taxes,
                                                                   with 90% of any refunds to
                                                                      Receivership Estate

Settlement—Wayne Kelly                                                received $1,384,435.17
                                                                  plus interests in 707, 315 Iona,
                                                                     and KAPA Breeze, LLCs
                                                                       received $100,000 in
                                                                  satisfaction of promissory note
                                                                      duty to restate taxes,
                                                                   with 90% of any refunds to
                                                                      Receivership Estate

 1/4    Mash Farms, LLC                                                  assessing options
        808+ acres with hunting camp in Sunflower County
        Purchased in 2014 for $1,600,000
        Encumbered by Trustmark Bank mortgage
        Owe approximately $900,000

100% Oxford Springs, LLC                                                      for sale
     2,300+/- acres undeveloped land in Lafayette County
     Unencumbered

 1/6    707, LLC                                                   LLC sold principal asset and
        263+ acres recreational land in Holmes County             dissolved; tendered $6,994.09
        Purchased in 2009                                       representing Adams’s, Kelly’s, and
        Encumbered by First Commercial Bank mortgage                  McHenry’s interests to
        Owe approximately $368,000                                   the Receivership Estate

 1/3    Delta Farm Land Investments, LLC                           LLC sold principal asset and
        1170+ acres farmland in Oktibbeha County                 dissolved; tendered $323,440.88
        Purchased in 2014 for $2,796,100                         representing Adams’s interest to
        Encumbered by Trustmark Bank mortgage                         the Receivership Estate
        Owe approximately $2,200,000

 1/2    KAPA Breeze LLC                                           sold the Receivership Estate’s
        1.5+/- acres mixed-use land on Highway 30A in Florida          interest for $700,000
        Purchased in 2017 for approximately $1,900,000
        Encumbered by Jefferson Bank mortgage
        Owe approximately $1,365,000

 1/4    Mallard Park, LLC                                         sold the Receivership Estate’s
        1,723 acres with hunting lodge in Humphreys County             interest for $175,000
        Purchased in 2016 for $2,593,500
        Encumbered by Southern AgCredit mortgage
        Owe approximately $2,000,000

Hartford Life and Annuity Insurance Co. life insurance policy       surrendered for $167,206.60

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Lincoln National Life Insurance Co. life insurance policy            surrendered for $3,678.45

Settlement—Frank Zito                                                   received $100,000,
                                                                          first installment
                                                                   received $100,000, second
                                                                     and final installment,
                                                                         June 12, 2019

Settlement—Ole Miss Athletics Foundation                             received $155,084.50,
                                                                        first installment
                                                                     received $155,084.50,
                                                                  second and final installment,
                                                                         April 17, 2019

Marital Property Settlement—Vickie Lynn Adams                          received $58,247
Lump sum payment includes proceeds from sale of Lexus LX 570
and liquidation of Hartford Life and Annuity Insurance Co. life
insurance policy

Settlement—Adams children                                              received $170,000

Alexander Seawright—UPS’s funds*                                       holding $100,000

2018 King Ranch Ford F150 truck                                         sold for $42,750

Condo in Calton Hill subdivision in Oxford, Mississippi              received $139,919.09
Unencumbered                                                         in proceeds from sale

Settlement—Philippi Freedom Ministries                                 received $16,125

Settlement—Rick Hughes Evangelistic Ministries                        received $43,657.95

Jewelry                                                                      for sale


House at 134 Saint Andrews Drive, Jackson, Mississippi                received $350,777.38
Unencumbered                                                          in proceeds from sale
                                                                       received $3,277.45
                                                                  from sale of household goods
                                                                         on consignment

Settlement—Century Club Charities                                      received $56,944


Settlement—Berachah Church                                             received $175,904


Settlement—R.B. Thieme, Jr.                                          received $104,626.50



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Settlement—Operation Grace World Missions                                       received $39,325


Returned proceeds—Techwood, LLC                                                received $309,000


Strikethrough indicates asset has been liquidated or proceeds are already accounted for in the Hancock
Bank account balance.

*Holding funds solely as an offset to UPS’s monetary liability for future claims the Receivership Estate
might have against UPS.




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